      Case 1:15-cv-00234-JL Document 66 Filed 05/18/18 Page 1 of 17




                     UNITED STATES DISTRICT COURT
                      DISTRICT OF NEW HAMPSHIRE


Brendan Kelly

    v.                                       Civil No. 15-cv-234-JL
                                             Opinion No. 2018 DNH 106
Liberty Insurance Corp.,
d/b/a Liberty Mutual


                      ORDER ON SUMMARY JUDGMENT

    This insurance coverage case requires the court to

determine whether a named insured validly rejected uninsured

motorist coverage.    The dispute arises from a motor vehicle

accident in which plaintiff Brendan Kelly was seriously injured.

Kelly, an employee of Plum Creek Timber Co., was driving a

company truck when an oncoming vehicle crossed a double-yellow

line and collided head-on with Kelly.       After collecting the

liability insurance policy limit from the other driver’s

insurance carrier, Kelly sought underinsured motorist (UM)

coverage under an umbrella policy defendant Liberty Mutual

issued to Plum Creek.    New Hampshire law requires that umbrella

policies include UM coverage unless rejected by the named

insured.   See N.H. Rev. Stat. Ann. § 264:15.       Liberty Mutual

denied the claim on the basis that Plum Creek had expressly

rejected UM coverage.    Claiming that Plum Creek’s rejection is

invalid under New Hampshire law, Kelly filed a petition for

declaratory judgment seeking coverage under the Liberty Mutual
         Case 1:15-cv-00234-JL Document 66 Filed 05/18/18 Page 2 of 17




policy.    See N.H. Rev. Stat. Ann. 491:22.        This court’s subject

matter jurisdiction is premised on diversity of citizenship.               28

U.S.C. § 1332.

       The parties filed cross-motions for summary judgment.             Two

issues were central to the dispute:         1) whether Liberty Mutual

was required to physically attach a statutorily-required

rejection notice1 to Plum Creek’s policy or notify Plum Creek

employees of the rejection; and 2) whether a particular Plum

Creek employee had the requisite authority to reject UM

coverage.    After reviewing the parties’ motions, memoranda and

exhibits and hearing argument, the court denied plaintiff’s

motion and granted defendant’s motion, thereby rejecting

plaintiff’s claim regarding attachment of the rejection notice.2

The court also ruled that material factual disputes remained as

to the Plum Creek employee’s authority, and that issue proceeded

to a bench trial.      This order -- issued the same day as the

court’s bench trial rulings -- explains the court’s reasoning as

to its earlier partial grant of summary judgment.            The court




1   N.H. Rev. Stat. Ann. § 264:15.
2   See Endorsed Order, March 28, 2017.

                                      2
      Case 1:15-cv-00234-JL Document 66 Filed 05/18/18 Page 3 of 17




issues findings of fact and rulings of law from the bench trial

in a separate order.


I.   Summary judgment

     Summary judgment is properly granted when the movant shows

that there is no genuine dispute as to any material fact and the

movant is entitled to judgment as a matter of law.         See Fed. R.

Civ. P. 56(a).    The court “views all facts and draws all

reasonable inferences in the light most favorable to the non-

moving” parties.     Estrada v. Rhode Island, 594 F.3d 56, 62 (1st

Cir. 2010).    On cross-motions for summary judgment, “the court

must consider each motion separately, drawing inferences against

each movant in turn.”     Merchants Ins. Co. of N.H., Inc. v. U.S.

Fid. & Guar. Co., 143 F.3d 5, 7 (1st Cir. 1998) (quotation marks

omitted).     Here, the parties’ arguments mirror each other.         For

example, Kelly claims he is entitled to summary judgment because

New Hampshire law requires an insurer to attach the UM rejection

form to the policy in order to be valid, while Liberty’s summary

judgment motion argues that Plum Creek’s rejection is valid and

conclusive.    Thus, while the court treats the motions

separately, it analyzes the arguments in the same intertwined

manner in which they are presented to the court.



                                   3
       Case 1:15-cv-00234-JL Document 66 Filed 05/18/18 Page 4 of 17




II.   Background

      The basic facts are not in dispute.       On December 10, 2013,

a car driven by George Motard crossed into Kelly’s lane of

travel and struck the truck Kelly was driving head-on.           Motard

was killed in the accident; Kelly was seriously injured.              Kelly

claims permanent injury and medical bills to date in excess of

$450,000.   At the time of the accident, Kelly was acting in the

course of his employment for Plum Creek, which owned the truck

he was driving.    Progressive Casualty Insurance provided

coverage for decedent Motard under a liability policy with a

$100,000 limit.    Plum Creek’s primary automobile insurance

carrier was ACE American Insurance Co, with liability and

underinsured motorist coverage limits of $1 million.           Both

Progressive and ACE tendered their respective policy limits to

Kelly, who claims that his damages exceed the tendered amount.3

      During the relevant time period, Liberty insured Plum Creek

under a commercial umbrella policy with a $5 million limit.

Kelly sought benefits under the Liberty policy, but Liberty


3 Kelly received $100,000 from Progressive and $900,000 from ACE,
which permissibly set off the Progressive coverage from its
limit. See, e.g., Deyette v. Liberty Mut. Ins. Co., 142 N.H.
560, 563 (1997) (“Recovery by an insured from an underinsured
motorist tortfeasor triggers an insurer’s right to reduce
payment under underinsured motorist coverage . . . ”).

                                    4
      Case 1:15-cv-00234-JL Document 66 Filed 05/18/18 Page 5 of 17




denied the claim, explaining that Plum Creek had expressly

rejected UM coverage under the umbrella policy.         This suit

followed.


III. Analysis

     The parties agree that New Hampshire law controls this

dispute.    Therefore, the insurer, Liberty, bears the burden of

proving that Kelly’s claim is not covered.        N.H. Rev. Stat Ann.

§ 491:22-a (2010); Carter v. Concord. Gen. Mut. Ins. Co., 155

N.H. 515, 517 (2011).4


A. Authority to reject UM coverage

     New Hampshire law requires that umbrella policies

     “provide [UM] coverage equal to the limits of
     liability purchased, unless the named insured rejects
     such coverage in writing. Rejection of such coverage
     by a named insured shall constitute a rejection of
     coverage by all insureds . . . and shall remain
     effective upon policy amendment or renewal, unless the
     named insured requests such coverage in writing.”


4 The parties also disagree as to whether the umbrella policy, as
written, provides UM coverage. Because New Hampshire law
requires umbrella policies to include UM coverage (unless
rejected), this argument is largely academic. Given the
statutory mandate of UM coverage and the fact that the statute
also allows the named insured to reject such coverage for all
insureds, the court declines to resolve this issue, as it will
not advance the case of this matter. The outcome turns solely
on whether Plum Creek validly rejected the UM coverage mandated
by § 264:15.

                                   5
         Case 1:15-cv-00234-JL Document 66 Filed 05/18/18 Page 6 of 17




N.H. Rev. Stat. Ann. § 264:15 (emphasis added).            The parties

agree that Plum Creek is the “named insured,” and that Kelly is

“an insured” by virtue of the fact that he was operating the

truck in the course of his employment at the time of the

accident.

       Liberty argues that Plum Creek rejected UM coverage.              It

supports this claim with a copy of a rejection form signed by

Lisa Duetsch, Plum Creek’s Manager of Risk and Insurance.5               In

response, plaintiff argues that the record lacks any evidence

that Duetsch was authorized by Plum Creek to reject the

coverage.    As previously noted, on March 28, 2017, the court

orally denied summary judgment on that issue, and the parties

proceeded to a bench trial on the question of Duetsch’s

authority.


B.    Notification of UM rejection

       In addition to the authority issue, plaintiff argues that

Plum Creek’s UM rejection is invalid -- even if Duetsch had

proper authority -- because the rejection form was not attached

to the policy, thus depriving Kelly, an insured, of written


5   Weitzel Decl., Exhibits C and D (Doc. Nos. 30-3, 30-4).

                                      6
      Case 1:15-cv-00234-JL Document 66 Filed 05/18/18 Page 7 of 17




notice of his employer’ coverage rejection.        This argument is

premised on both the language of the statute and the language of

the policy.   As explained below, however, plaintiff’s argument

finds no support in the language of § 264:15, the policy, or

cases from New Hampshire and elsewhere.       The court turns first

to the statute.

    1.    N.H. Rev. Stat. Ann. § 264:15

    Under New Hampshire law, the interpretation of a statute is

a question of law.   Carlisle v. Frisbie Mem. Hosp., 152 N.H.

762, 773 (2005).   The court “first examines the language of the

statute, and, where possible, ascribes the plain and ordinary

meaning to the words used.”     Id.    If the statute’s language “is

plain and unambiguous, [the court] does not look beyond it for

further indication of legislative intent and [does] not consider

what the legislature might have said or add language that the

legislature did not see fit to include.”       Id.   Applying these

principles, the court finds that New Hampshire law does not

require the notice that Kelly demands.

    First, the plaintiff does not dispute that the statute

lacks a requirement that the rejection form be attached to the

policy.   Thus, an attachment requirement would impermissibly

“redraft [the] statute” to include a requirement “not fairly

                                   7
         Case 1:15-cv-00234-JL Document 66 Filed 05/18/18 Page 8 of 17




expressed.”     Ellis v. Royal Ins. Cos., 129 N.H. 326, 334 (1987)

(internal quotations omitted); see also Gisonni v. State Farm

Mut. Ins. Co., 141 N.H. 518, 520 (1996) (rejecting claim that

statutorily-required insurance coverage for accidents in Canada

also extend to Mexico because to do so would “add words which

the lawmakers did not see fit to include.”).           This alone

substantially undermines plaintiff’s argument that New Hampshire

law requires an insurer to attach the UM rejection form to the

policy.

    While not binding, the court also finds persuasive that

courts in other jurisdictions with similar statutes have held

that a UM rejection form need not be attached to a policy to be

valid.    See, e.g., Mitchell v. Liberty Mut. Ins. Co., 24 P.3d

711, 722-23 (Kan. 2001) (“Once a valid rejection is written, the

statute has been complied with.”); Ortiz v. State Farm. Mut.

Ins. Co., 955 S.W.2d 353, 357 (Tex. Ct. App. 1997) (rejecting

insured’s request to “interpret the written rejection language

in [the relevant state statutes] as requiring that the writing

be attached to or in some other way incorporated in the

policy.”); Koenig v. Mission Ins. Co., 471 P.2d 271, 273 (Ariz.

1970) (holding that insured’s written waiver of uninsured

motorist coverage in her application for automobile liability

                                      8
      Case 1:15-cv-00234-JL Document 66 Filed 05/18/18 Page 9 of 17




coverage was sufficient to reject uninsured motorist coverage).

By way of contrast, it is noteworthy that New Mexico insurance

regulations expressly require that a UM rejection form be

incorporated and made part of the insurance policy.         Jordan v.

Allstate Ins. Co., 245 P.3d 1214, 1220 (N.M. 2010).         No similar

provision in New Hampshire’s statute or its insurance

regulations provides for such a requirement.

     Plaintiff cites no legal authority -- statutory,

regulatory, judicial or scholarly -- for his position.          Instead,

he argues that the failure to attach the UM rejection form to

the policy or otherwise notify him of the coverage rejection

defeats the legislative “intent” of § 264:15 to “promote a

public policy of placing insured persons in the same position

that they would have been if the offending uninsured motorist

has possessed comparable liability insurance by broadening

protection for those insured in accidents involving uninsured

motorists.”6   The New Hampshire Supreme Court commands, however,

that “[u]nless [the court] find[s] that the statutory language

is ambiguous, [the court] need not look to legislative intent.”

In re Union Tel. Co., 160 N.H. 309, 317 (2010).         Here, the


6 Pltf. Mem., doc. no. 27-1, at 6-7 (quoting Rivera v. Liberty
Mut. Fire Ins. Co., 163 N.H. 603, 608 (2012)).

                                   9
        Case 1:15-cv-00234-JL Document 66 Filed 05/18/18 Page 10 of 17




statute unambiguously requires only “written rejection” by the

named insured to validly reject an umbrella policy’s UM coverage

on behalf of “all insureds.”        The statute requires no more.

       Relatedly, plaintiff argues that Liberty’s failure to

attach the rejection form to Plum Creek’s policy harms him

because “he would have no way to know whether the automatic UM

coverage of RSA 264:15 applies to him.”7         This argument does

little to advance plaintiff’s case.         On one hand, he asks the

court to assume that he is familiar enough with New Hampshire

insurance law to understand that, pursuant to statute, UM

coverage is “automatic” (unless rejected) in his employer’s

umbrella policy.     On the other, he asks to freely ignore the

portion of the same statute that permits his employer to reject

that coverage and that such a rejection would apply to him.

       In addition, plaintiff’s theory would require that an

insurer in Liberty’s position notify all of its named insureds’

employees that their employer has rejected UM coverage.8            Yet

plaintiff cites no authority for the proposition that this



7   Pltf. Mem., doc. no. 33, at 11.
8 Plum Creek alone has 1300 employees in 19 states and presumably
adds and subtracts employees on a regular basis. Def. Mem.,
doc. no 34-1, at 17.

                                     10
        Case 1:15-cv-00234-JL Document 66 Filed 05/18/18 Page 11 of 17




burden has been assigned to insurers.         More importantly, it is

countered by the language in the statute, which unambiguously

allows the named insured (Plum Creek) to reject UM coverage for

all insureds (including plaintiff).         Another factor weighing

against plaintiff’s theory is that a UM rejection under § 264:15

remains in effect in policy renewals -- without a new rejection

form -- until the named insured later requests such coverage in

writing.    N.H. Rev. Stat. Ann. § 264:15, I.        Thus, plaintiff’s

theory would require the insurer to notify not just present

employees of their employer’s rejection of UM coverage, but

those hired after the inception of the policy.           Once again, the

plaintiff presents no authority to suggest that the New

Hampshire legislature passed this responsibility to insurers.

       Finally, the plaintiff asserts that Liberty tacitly agreed

to attach any signed rejection forms when it submitted the blank

form (as well as its entire commercial umbrella policy form) to

the New Hampshire Insurance Department for approval.9            See N.H.

Rev. Stat. Ann. § 412:5.       But the record evidence (submitted by

the plaintiff himself) undermines this claim.           In an affidavit

attached to plaintiff’s memorandum of law, the plaintiff’s



9   Pltf. Mem., doc. no. 33, at 17-18.

                                     11
         Case 1:15-cv-00234-JL Document 66 Filed 05/18/18 Page 12 of 17




expert witness, Atty. Melinda Gehris, stated that “It is not the

Insurance Department’s role to determine how a form should be

used or what any specific form means in a particular set of

factual circumstances.”10       Atty. Gehris further stated that

“[a]pproval of the language of the form in isolation does not

constitute any approval of how Liberty intended to use the form,

or how it did use the form in this case . . . .”11            Although

Kelly submitted the expert affidavit for the purpose of

countering what he describes as Liberty’s claim that the

Insurance Department’s approval of the form indicated its

approval of Liberty’s decision not to attach it to policies, the

court concludes from the affidavit that the Insurance

Department’s approval of forms advances the arguments of neither

side in this case.

       2.    Policy language

       Kelly next argues that language in the umbrella policy

required Liberty to add a policy endorsement reflecting Plum

Creek’s UM rejection.       This argument is based on a clause in

Liberty’s policy, in a section titled, “Changes,” which states




10   Gehris Aff., doc. no. 33-9 at ¶ 6.
11   Id. at ¶ 7.

                                      12
         Case 1:15-cv-00234-JL Document 66 Filed 05/18/18 Page 13 of 17




that the “policy contains all of the agreements between you and

[Liberty] concerning the insurance afforded.            This policy’s

terms can be amended or waived only by endorsement issued by

[Liberty] and made part of this policy.”12          Rejection of UM

coverage, Kelly argues, is such an amendment or waiver.

       The interpretation of insurance policy language is a

question of law for the court to determine.           Rivera v. Liberty

Mut. Fire Ins. Co., 163 N.H. 603, 606 (2012).            “Policy terms are

construed objectively; where the terms are clear and

unambiguous, [the court] accord[s] the language its natural and

ordinary meaning.”       Barking Dog, Ltd. v. Citizens Ins. Co. Of

Am., 164 N.H. 80, 83 (2012).         Where disputed terms are not

defined in the policy, the court construes them “in context, and

in the light of what a more than casual reading of the policy

would reveal to an ordinarily intelligent insured.”              Great Am.

Dining v. Philadelphia Indem. Ins. Co., 164 NH 612, 625 (2013).

If policy terms are clear and unambiguous, the “search for the

parties’ intent is limited to the words of the policy.”              White

v. Vt. Mut. Ins. Co., 167 N.H. 153, 157 (2014).            “Ambiguity

exists if reasonable disagreement between contracting parties



12   Coverage Form, doc. no. 33-3, at 65.

                                      13
         Case 1:15-cv-00234-JL Document 66 Filed 05/18/18 Page 14 of 17




leads to at least two interpretations of the language.”              Id.

(quoting Colony Ins. Co. v. Dover Indoor Climbing Gym, 158 N.H.

628, 630 (2009)).       “If one of the reasonable meanings of the

language favors the policyholder, the ambiguity will be

construed against the insurer.”         Colony, 158 N.H. at 630.

However, the court will not “perform amazing feats of linguistic

gymnastics to find a purported ambiguity[,]” id. at 630-31, and

will “enforce a policy provision that limits the insurance

company’s liability when the policy language is clear and

unambiguous.”      Merch. Mut. Ins. Co. v. Laighton Homes, Inc., 153

N.H. 485, 487 (2006).

       Kelly’s argument fails to persuade the court for several

reasons.     Initially, plaintiff argues that “[n]othing in the

policy discloses that RSA 264:15’s automatic coverage was

rejected.”13     This is less a policy language-based argument than

a variation of plaintiff’s argument that the statute requires

the UM rejection form to be attached to the policy, an argument

the court already rejected.        By its plain terms, § 264:15 makes

UM coverage mandatory unless rejected by the named insured; it




13   Pltf. Mem., doc. no. 27-1, at 13.

                                      14
      Case 1:15-cv-00234-JL Document 66 Filed 05/18/18 Page 15 of 17




does not make it mandatory unless rejected by the named insured

and with notice to all insureds.

    Next, the court finds that the policy provision upon which

Kelly relies does not require attachment of the UM rejection

form to the policy.    While the New Hampshire Supreme Court has

not spoken directly to this issue, the court is persuaded by a

decision from the Seventh Circuit Court of Appeals involving an

employee seeking UM coverage from his employer’s insurer.

Applying an Indiana statute similar to New Hampshire’s and

similar policy language to Liberty’s, the Court in Emp’rs Ins.

of Wausau v. Stopher, 155 F.3d 892, 897-98 (7th Cir. 1998), held

that a rejection of UM coverage was effective upon the named

insured’s execution of the rejection document.         Thus, the court

concluded, an endorsement was not necessary to effect the

rejection, despite the policy provision that “terms can be

amended or waived only by endorsement.”        Id. at 895.

    As here, the party seeking UM coverage in Stopher claimed

that rejection of UM coverage constituted a change that was not

effective without an endorsement.       Id. at 897.    The court

disagreed, stating:    “Unlike a change in the Policy, both

parties need not agree to [the named insured’s] cancellation of

part of its coverage . . . [which] does not require any act by

                                   15
       Case 1:15-cv-00234-JL Document 66 Filed 05/18/18 Page 16 of 17




the insurer.”    Id. at 898.    In so ruling, the court agreed with

the insurer that “requiring [the insurer] to issue change

endorsements was intended to prevent the insurer from

unilaterally changing the Policy without providing prior notice

to [the named insured].”      Id. at 897; cf. Ins. Comm’r v.

People’s Fire Ins. Co., 68 N.H. 51 (1894) (holding that insured

can cancel policy without advance notice to insurer), cited in

Kobilsek v. Hartford Acc. & Indem. Co., 95 N.H. 324, 327 (1949).

The Seventh Circuit Court of Appeals concluded:          “An insurer

cannot bind an insured to coverage it does not want.           Nor is an

insured entitled to the benefit of coverage that it clearly

intended to reject.”     Id. at 898.     The court finds Stopher’s

reasoning applicable here -- especially where plaintiff has

provided no contrary authority -- and finds that Plum Creek

intentionally rejected UM coverage, its rejection was effective

upon submission to Liberty Mutual, and that no endorsement was

necessary to effectuate the rejection.


IV. Conclusion

     The court finds that Plum Creek’s rejection of UM coverage

in   the umbrella policy issued by Liberty was valid to the

extent that neither New Hampshire law nor the insurance policy

language require the rejection form to be attached to the policy
                                    16
         Case 1:15-cv-00234-JL Document 66 Filed 05/18/18 Page 17 of 17




or for an insured in plaintiff’s position to be given notice of

the rejection.      Accordingly, plaintiff’s14 motion for summary

judgment is DENIED, and defendant’s motion for summary judgment15

is GRANTED, in part.


       SO ORDERED.


                                     ____________________________
                                     Joseph N. Laplante
                                     United States District Judge

Dated:       May 18, 2018

cc:    Robert A. Stein, Esq.
       Diane P. Hock, Esq.
       Nancy D. Adams, Esq.
       Lavinia M. Weizel, Esq.
       John B. Schulte, Esq.




14   Doc. no. 27.
15   Doc. no. 28.

                                      17
